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                        Attorneys for Relator STF, LLC
                    7
                                                      UNITED STATES DISTRICT COURT
                    8
                                                     NORTHERN DISTRICT OF CALIFORNIA
                    9
                        UNITED STATES OF AMERICA; STATE OF           CASE NO. 3:16-cv-02043-TSH
               10       CALIFORNIA; ex rel. STF, LLC, an
                        organization,                                JOINT NOTICE OF PROPOSED
               11                                                    SETTLEMENT
                                       Plaintiffs,
               12
                                v.
               13
                        CRESCENDO BIOSCIENCE, INC., a Delaware
               14       corporation; and MYRIAD GENETICS, INC., a
                        Delaware corporation,
               15
                                       Defendants.
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 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         JOINT NOTICE OF PROPOSED SETTLEMENT; Case No. 3:16-cv-02043-TSH
                            Case 3:16-cv-02043-TSH Document 134 Filed 09/15/21 Page 2 of 2



                    1                        JOINT NOTICE OF PROPOSED SETTLEMENT

                    2          Relator STF, LLC (“Relator”), and Defendants Crescendo Bioscience, Inc. and Myriad

                    3   Genetics, Inc. (“Defendants”), hereby give notice that at a mediation session with Prof. Eric Green

                    4   on September 9, 2021, the Parties reached a comprehensive settlement of all claims in this action,

                    5   subject to the negotiation of mutually agreeable settlement documentation and approval by the

                    6   United States Department of Justice (DOJ), California Attorney General (CA DOJ), and California

                    7   Department of Insurance (CDI). The Parties executed a term sheet on the day of the mediation,

                    8   and have begun the process of drafting long-form settlement agreements.

                    9          In the Parties’ experience, the timeline for approval of qui tam settlement agreements from

               10       the government entities varies dramatically, but typically ranges from 30 to 90 days.

               11              The Parties accordingly request that all pre-trial deadlines and the trial date be vacated. The

               12       Parties will provide an update to the Court within 90 days, by which time the Parties hope to have

               13       received approval from the government, or a more definitive timeline for expected government

               14       approval.

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               16       Dated: September 15, 2021                           COTCHETT, PITRE & McCARTHY, LLP
               17
                                                                            By:     /s/ Justin T. Berger
               18                                                                   JUSTIN T. BERGER
                                                                                    BETHANY HILL
               19
                                                                            Attorneys for Relator STF, LLC
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                        Dated: September 15, 2021                           FOLEY HOAG LLP
               21

               22                                                           By:     /s/ Giselle J. Joffre
                                                                                    CAROLINE DONOVAN
               23                                                                   GISELLE J. JOFFRE
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               26                                                               JEREMY P. PALMER
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                                                                            Attorneys for Defendants Crescendo Bioscience,
               28                                                           Inc. and Myriad Genetics, Inc.
       ♼
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COTCHETT, PITRE &
 MCCARTHY, LLP
                        JOINT NOTICE OF PROPOSED SETTLEMENT; Case No. 3:16-cv-02043-TSH                                          1
